Case 1:20-mc-00095 Document 1-1 Filed 08/03/20 PageID.3 Page 1 of 4




                      EXHIBIT A
                Case 1:20-mc-00095 Document 1-1 Filed 08/03/20 PageID.4 Page 2 of 4

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Utah                    [3
             In re Subpoena to Cloudflare, Inc.
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                Cloudflare, lnc.101 Townsend S treet, San Francisco, CA 94107 ATTN: Lega I Dept. - Subpoena
                                                       (Name ofperson to whom this subpoena is directed)

    'f'S' Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
materialidentifying information for the owners of the following domain names: measured.icu; www.draftscale.xyz;
        www.submarines.best; www.leveller.xyz, including owner(s) legal names, physical address and email address

  Place:                                                                                 Date and Time:
           Workman Nydegger, 60 East South Temple, Suite 1000
           Salt Lake City, Utah 8411                                                                          08/21/2020 9:00 am

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

                                                                                       IDate and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: - - - - - - -

                                   CLERK OF COURT
                                                                                             OR
                                           Signature of Clerk or Deputy Clerk                                          Attorney's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
ICON HEALTH & FITNESS, Inc.                                              , who issues or requests this subpoena, are:

Rager -I McCookie, Workman Nydegger, 60 East S011t Temple,                           s, 1ite 1DOD, Salt I ake City, I II 8411
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 1:20-mc-00095 Document 1-1 Filed 08/03/20 PageID.5 Page 3 of 4

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2}

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be flied with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            □   I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            CJ I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also




My fees are$                                       for travel and $                              for services, for a total of$                0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server 's signature



                                                                                                  Printed name and title




                                                                                                     Server's address

Additional information regarding attempted service, etc.:
                Case 1:20-mc-00095 Document 1-1 Filed 08/03/20 PageID.6 Page 4 of 4

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                            Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or infonnation that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cam1ot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Oilier Discovery. A subpoena may command:
   (A) production of doclllllents, electronically stored information, or           (1) Produci11g Documents or Electronically Storetl I1iformatlo11, These
tangible things at a place within I 00 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement,                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored l11formation Not Specified.
 (l)Avoi<llng U11due Burden or Expense; Sanctions. A party or attorney            If a subpoena does not specify a fonn for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The




 (2) Commaml to Pl'Od1tce Materials or Permit I11spection.                        from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                      ofuudue burden or cost. On motion to compel discovery or for a protective
doctm1ents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because ofundue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person conunanded to produce documents or tangible           26(b)(2)(C). The court may specify conditions for the discovery.
things or to pennit inspection may serve 011 the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protect/011.
sampling any or all of the materials or to inspecting the premises-or to           (A) lriformation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or fonns requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following mles apply:                                                              (ii) describe the nature oftl1e witllheld docmnents, communications, or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner tl1at, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and tl1e basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (3) Quaslti11g or Modifyi11g a Subpoena.                                        infonnation and any copies it has; must not use or disclose the infonnation
   (A) When Required On timely motion, the court for tl1e district where          until the claim is resolved; must take reasonable steps to retrieve tl1e
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present tl1e information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the infomrntion must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted To protect a person subject to or affucted by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena ifit requires:                               who, having been served, fails without adequate excuse to obey tlie
      (i) disclosing ii trade secret or other confidential research,              subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
